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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


   Federal Trade Commission,
                                           Case No. ____________
         Plaintiff,
                                           FILED UNDER SEAL
         v.

   MOBE Ltd., et al.,

         Defendants.



             PLAINTIFF’S EXHIBITS TO EX PARTE MOTION AND
          MEMORANDUM OF LAW IN SUPPORT OF A TEMPORARY
            RESTRAINING ORDER AND ORDER TO SHOW CAUSE
           WHY A PRELIMINARY INJUCTION SHOULD NOT ISSUE




                                 VOLUME I-A
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